             Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 1 of 29 PAGEID #: 1



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 Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 2 of 29 PAGEID #: 2




                                       AFFIDAVIT


                        I, Gregory Libow, being duly sworn, state:


                                    INTRODUCTION

   1.      I am a Special Agent with the HSI and have been since May of 2019. I am

assigned to the South-Central High Intensity Drug Trafficking Area [HIDTA] Cyber

Taskforce (SCHCTF) in Columbus, Ohio, where I am is responsible for conducting narcotics

investigations involving dark web marketplaces. Prior to becoming a Special Agent, I was

employed as a United States Customs and Border Protection (CBP) Officer for 8

years. While working for CBP, I was assigned to Columbus, Ohio and worked alongside

HSI and other law enforcement agencies targeting drug and weapon shipments purchased off

the internet. As a Special Agent, I am authorized to investigate violations of the laws of the

United States and to execute warrants issued under the authority of the United States. Since

working for HSI, I have been involved in narcotics-related arrests, executed search warrants

that resulted in the seizure of narcotics, and participated in narcotics investigations. Through

training and experience, I am familiar with the manner in which persons involved in the illicit

distribution of controlled substances often operate. In particular, I am aware that drug

traffickers often communicate with their customers, couriers, and/or associates through the

use of standard hardline telephones, and cellular telephones, or use of multiple telephones or

other devices, to avoid detection by law enforcement.

   2.      I have participated in and conducted numerous investigations of violations of

various state and federal criminal laws, including violations of Title 21 United States Code.




                                             1
 Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 3 of 29 PAGEID #: 3




                                  PURPOSE OF AFFIDAVIT


    3.       I am participating in an investigation concerning an organized group of known

and unknown individuals who are suspected of involvement in criminal offenses against the

United States, namely, to manufacture, distribute or dispense a controlled substance, in violation

of 21 U.S.C. § 841 and 21 U.S.C. § 846.

    4.       The information set forth in this affidavit is based upon my knowledge, training,

experience, and participation in investigations involving the smuggling, possession,

distribution, and storage of narcotics and narcotics proceeds. This information is also based

on the knowledge, training, experience, and investigations conducted by fellow law

enforcement officers, who have reported to me either directly or indirectly. I believe this

information to be true and reliable. I know according to the Federal Analogue Act, 21 U.S.C.

§ 813 any chemical substantially similar to a controlled substance listed in Schedule I or II of

the Drug Enforcement Administration’s (DEA) Controlled Substance Schedule is to be treated

as if it were listed in Schedule I, if intended for human consumption. I know is it is a violation

of 21 U.S.C. § 841 to manufacture, distribute or dispense a controlled substance and a violation

of 21 U.S.C. § 846 to attempt or conspire to manufacture, distribute or dispense a controlled

substance.

    5.       The information contained in this affidavit is based upon my personal

participation in this investigation, information obtained from other agents and detectives

assisting in this investigation, and my review of records, documents, and other material

relating to this investigation.

    6.       Because this affidavit is being submitted for the limited purpose of securing

criminal complaints and arrest warrants, I have not included each and every fact known to me


                                               2
     Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 4 of 29 PAGEID #: 4




    concerning this investigation. I have set forth only the facts that I believe are necessary to

    establish probable cause to believe that James BARLOW, Monet CARRIERE, Ronald

    BRUST, Matthew BARLOW, Jennifer CAMPBELL, and Tony PHAN have violated 21

    U.S.C. § 841 and 21 U.S.C. § 846.


               BACKGROUND ON THE DARK WEB & CRYPTOCURRENCY

    7. Based on my training, research, education, and experience, I am familiar with the

following relevant terms and definitions:

               a.      The “dark web” is a portion of the “deep web 1” of the Internet, where

       individuals must use an anonymizing software or application called a “darknet” to access

       content and websites. Within the dark web, criminal marketplaces operate, allowing

       individuals to buy and sell illegal items, such as drugs, firearms, and other hazardous

       materials, with greater anonymity than is possible on the traditional Internet (sometimes

       called the “clear web” or simply the “web”). These online market websites use a variety of

       technologies, including the Tor network (defined below) and other encryption

       technologies, to ensure that communications and transactions are shielded from

       interception and monitoring. Famous dark web marketplaces (“DWM’s”), also called

       Hidden Services, such as Silk Road 1, Silk Road 2, AlphaBay, and Hansa (all of which

       have since been shut down by law enforcement), operated similarly to clear web

       commercial websites such as Amazon and eBay, but offered illicit goods and services.

       When law enforcement shut down the four DWM’s listed above, they also obtained images




1
  The deep web is the portion of the Internet not indexed by search engines. Examples are databases and
internal networks belonging to private industry, government agencies, or academic institutions.

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     Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 5 of 29 PAGEID #: 5




        of their servers, and law enforcement has been able to mine the data from those sites for

        information about the customers and vendors who used them.

                b.      “Vendors” are the dark web’s sellers of goods and services, often of an illicit

        nature, and they do so through the creation and operation of “vendor accounts” on dark

        web marketplaces. Customers, meanwhile, operate “customer accounts.” Vendor and

        customer accounts are not identified by numbers, but rather monikers or “handles,” much

        like the username one would use on a clear web site. If a moniker on a particular

        marketplace has not already been registered by another user, vendors and customers can

        use the same moniker across multiple marketplaces, and based on seller and customer

        reviews, can become well known as “trusted” vendors or customers. It is also possible for

        the same person to operate multiple customer accounts and multiple vendor accounts at the

        same time. For example, based on my training and experience, I know that one person

        could have a vendor account that he or she uses to sell illegal goods on a dark web

        marketplace in exchange for cryptocurrency; that same vendor could also have a different

        customer account that he or she uses to exchange cryptocurrency earned from vendor sales

        for fiat currency 2. Because they are separate accounts, a person could use different

        accounts to send and receive the same cryptocurrency on the dark web. I know from

        training and experience that one of the reasons dark web vendors have multiple monikers

        for different vendor and customer accounts, is to prevent law enforcement from identifying

        which accounts belong to the same person, and who the actual person is that owns or uses

        the accounts.



2
 Fiat currency is currency created and regulated by a government such as the U.S. Dollar, Euro, or Japanese
Yen.

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Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 6 of 29 PAGEID #: 6




        c.      The “Tor network,” or simply “Tor” (an abbreviation for “The Onion

 Router”), is a special network of computers on the Internet, distributed around the world,

 designed to conceal the true Internet Protocol (“IP”) addresses of the computers accessing

 the network, and, thereby, the locations and identities of the network’s users. Tor also

 enables websites to operate on the network in a way that conceals the true IP addresses of

 the computer servers hosting the websites, which are referred to as “hidden services” on

 the Tor network. Such hidden services operating on Tor have complex web addresses,

 generated by a computer algorithm, ending in “.onion” and can only be accessed through

 specific web browser software, including a browser known as “Tor Browser,” designed to

 access the Tor network. Examples of hidden services websites are the aforementioned

 AlphaBay and Hansa. Tor is available on cellphones using the Android and Apple

 operating systems by installing an application that puts a TOR-enabled internet browser on

 a user’s cellphone, which then routes the phone’s IP address through different servers all

 over the world, making it extremely difficult to track.

        d.      Cryptocurrency, a type of virtual currency, is a decentralized, peer-to peer,

 network-based medium of value or exchange that may be used as a substitute for fiat

 currency to buy goods or services or exchanged for fiat currency or other cryptocurrencies.

 Examples of cryptocurrency are Bitcoin, Litecoin, and Ether. Cryptocurrency can exist

 digitally on the Internet, in an electronic storage device, or in cloud-based servers.

 Although not usually stored in any physical form, public and private keys (described

 below) used to transfer cryptocurrency from one person or place to another can be printed

 or written on a piece of paper or other tangible object. Cryptocurrency can be exchanged

 directly person to person, through a cryptocurrency exchange, or through other



                                          5
     Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 7 of 29 PAGEID #: 7




        intermediaries. Generally, cryptocurrency is not issued by any government, bank, or

        company; it is instead generated and controlled through computer software operating on a

        decentralized peer-to-peer network. Most cryptocurrencies have a “blockchain,” which is

        a distributed public ledger, run by the decentralized network, containing an immutable and

        historical record of every transaction. 3 Cryptocurrency is not illegal in the United States.

                e.      Bitcoin 4 (“BTC”) is a type of cryptocurrency. Payments or transfers of

        value made with bitcoin are recorded in the Bitcoin blockchain and thus are not maintained

        by any single administrator or entity. As mentioned above, individuals can acquire bitcoin

        through exchanges (i.e., online companies which allow individuals to purchase or sell

        cryptocurrencies in exchange for fiat currencies or other cryptocurrencies), bitcoin ATMs,

        or directly from other people. Individuals can also acquire cryptocurrencies by “mining.”

        An individual can “mine” bitcoins by using his/her computing power to solve a

        complicated algorithm and verify and record payments on the blockchain. Individuals are

        rewarded for this task by receiving newly created units of a cryptocurrency. Individuals

        can send and receive cryptocurrencies online using many types of electronic devices,

        including laptop computers and smart phones. Even though the public addresses of those

        engaging in cryptocurrency transactions are recorded on a blockchain, the identities of the

        individuals or entities behind the public addresses are not recorded on these public ledgers.

        If, however, an individual or entity is linked to a public address, it may be possible to

        determine what transactions were conducted by that individual or entity.                  Bitcoin


3
  Some cryptocurrencies operate on blockchains that are not public and operate in such a way to obfuscate
transactions, making it difficult to trace or attribute transactions.
4
 Since Bitcoin is both a cryptocurrency and a protocol, capitalization differs. Accepted practice is to use
“Bitcoin” (singular with an uppercase letter B) to label the protocol, software, and community, and
“bitcoin” (with a lowercase letter b) to label units of the cryptocurrency. That practice is adopted here.

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Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 8 of 29 PAGEID #: 8




 transactions are therefore sometimes described as “pseudonymous,” meaning that they are

 partially anonymous. And while it’s not completely anonymous, Bitcoin allows users to

 transfer funds more anonymously than would be possible through traditional banking and

 credit systems.

        f.         Cryptocurrency is stored in a virtual account called a wallet. Wallets are

 software programs that interface with blockchains and generate and/or store public and

 private keys used to send and receive cryptocurrency. A public key or address is akin to a

 bank account number, and a private key is akin to a PIN number or password that allows a

 user the ability to access and transfer value associated with the public address or key. To

 conduct transactions on a blockchain, an individual must use the public address (or “public

 key”) and the private address (or “private key.”) A public address is represented as a case-

 sensitive string of letters and numbers, 26–25 characters long. Each public address is

 controlled and/or accessed through the use of a unique corresponding private key - the

 cryptographic equivalent of a password or PIN - needed to access the address. Only the

 holder of an address’ private key can authorize any transfers of cryptocurrency from that

 address to another cryptocurrency address.

        g.         Although cryptocurrencies such as Bitcoin have legitimate uses,

 cryptocurrency is also used by individuals and organizations for criminal purposes such as

 money laundering and is an oft-used means of payment for illegal goods and services on

 hidden services websites operating on the Tor network. By maintaining multiple wallets,

 those who use cryptocurrency for illicit purposes can attempt to thwart law enforcement’s

 efforts to track purchases within the dark web marketplaces. As of April 1, 2021, one




                                            7
        Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 9 of 29 PAGEID #: 9




          bitcoin is worth approximately $59,000.00, though the value of bitcoin is generally much

          more volatile than that of fiat currencies.

                  h.       Exchangers and users of cryptocurrencies store and transact their

          cryptocurrency in a number of ways, as wallet software can be housed in a variety of forms,

          including on a tangible, external device (“hardware wallet”), downloaded on a PC or laptop

          (“desktop wallet”), with an Internet-based cloud storage provider (“online wallet”), as a

          mobile application on a smartphone or tablet (“mobile wallet”), printed public and private

          keys (“paper wallet”), and as an online account associated with a cryptocurrency exchange.

          Because these desktop, mobile, and online wallets are electronic in nature, they are located

          on mobile devices (e.g., smart phones or tablets) or at websites that users can access via a

          computer, smart phone, or any device that can search the Internet. Moreover, hardware

          wallets are located on some type of external or removable media device, such as a USB

          thumb drive or other commercially available device designed to store cryptocurrency (e.g.

          Trezor, Keepkey, or Nano Ledger). In addition, paper wallets contain an address and a QR

          code 5 with the public and private key embedded in the code. Paper wallet keys are not

          stored digitally. Wallets can also be backed up into, for example, paper printouts, USB

          drives, or CDs, and accessed through a “recovery seed” (random words strung together in

          a phrase) or a complex password. Additional security safeguards for cryptocurrency

          wallets can include two-factor authorization (such as a password and a phrase). I also know

          that individuals possessing cryptocurrencies often have safeguards in place to ensure that

          their cryptocurrencies become further secured in the event that their assets become

          potentially vulnerable to seizure and/or unauthorized transfer.


5
    A QR code is a matrix barcode that is a machine-readable optical label.

                                                      8
    Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 10 of 29 PAGEID #: 10




                i.      Bitcoin “exchangers” and “exchanges” are individuals or companies that

        exchange bitcoin for other currencies, including U.S. dollars. According to the Department

        of Treasury, Financial Crimes Enforcement Network (“FinCEN”) Guidance issued on

        March 18, 2013, virtual currency administrators and exchangers, including an individual

        exchanger operating as a business, are considered money services businesses. 6 Such

        exchanges and exchangers are required to register with FinCEN and have proper state

        licenses (if required under applicable state law). From my training and experience, I know

        that registered money transmitters are required by law to follow Bank Secrecy Act anti-

        money laundering (“AML”) regulations, “Know Your Customer” (“KYC”) protocols, and

        other verification procedures similar to those employed by traditional financial institutions.

        For example, FinCEN-registered cryptocurrency exchangers often require customers who

        want to open or maintain accounts on their exchange to provide their name, address, phone

        number, and/or the full bank account and routing numbers that the customer links to his/her

        exchange account.        As a result, there is significant market demand for illicit

        cryptocurrency-for-fiat currency exchangers, who not only lack AML or KYC protocols

        but often advertise their ability to offer customers stealth and anonymity. These illicit

        exchangers often exchange fiat currency for cryptocurrencies, such as by meeting

        customers in person or by shipping fiat currency through the mail. Due to the illicit nature

        of these transactions and their customers’ desire for anonymity, such exchangers are

        frequently able to charge a higher exchange fee, often as high as 9-10% (in contrast to

        registered and BSA-compliant exchangers, who may charge fees as low as 1-2%).


6
  See “Application of FinCEN’s Regulations to Person Administering, Exchanging, or Using Virtual
Currencies,” available at https://www.fincen.gov/resources/statutes-regulations/guiadance/application-
fincens-regulations-persons-administering.

                                                    9
   Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 11 of 29 PAGEID #: 11




   8. Some companies offer cryptocurrency wallet services which allow users to download a

digital wallet application onto their smart phone or other digital device. A user typically accesses

the wallet application by inputting a user-generated PIN code or password. Users can store,

receive, and transfer cryptocurrencies via the application; however, many of these companies do

not store or otherwise have access to their users’ funds or the private keys that are necessary to

access users’ wallet applications. Rather, the private keys are stored on the device on which the

wallet application is installed (or any digital or physical backup private key that the user creates).

As a result, these companies generally cannot assist in seizing or otherwise restraining their users’

cryptocurrency. Nevertheless, law enforcement could seize cryptocurrency from the user’s wallet

directly, such as by accessing the user’s smart phone, accessing the wallet application, and

transferring the cryptocurrency therein to a law enforcement-controlled wallet. Alternatively,

where law enforcement has obtained the recovery seed for a wallet (see above), investigators may

be able to use the recovery seed phrase to recover or reconstitute the wallet on a different digital

device and subsequently transfer cryptocurrencies held within the new wallet to a law

enforcement-controlled wallet


                       FACTS ESTABLISHING PROBABLE CAUSE
                         SUMMARY OF THE INVESTIGATION

       9.      On October 04, 2019 the South-Central High Intensity Drug Trafficking Area

   [HIDTA] Cyber Taskforce (SCHCTF) in Columbus, Ohio, consisting of investigators

   assigned to HSI, Drug Enforcement Administration (DEA), United States Postal Inspection

   Service (USPIS) and the Internal Revenue Service (IRS), executed a federal search warrant at

   a Columbus Target’s residence, who was using an online moniker to purchase narcotics off

   the Darknet site Empire Market. Investigators found and seized computers, mobile phones,

   media storage devices, $43,097.00 in U.S. currency, one 9mm pistol with a loaded magazine,

                                                 10
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 12 of 29 PAGEID #: 12




controlled substances and miscellaneous documents from the residence. Analysis of the

Columbus Target’s mobile phone, along with his Darknet Empire Market account, indicated

that he had been communicating with and purchasing liquid psychedelic mushrooms from an

online vendor using the Darknet moniker “TRIPWITHSCIENCE” on a regular basis.

   10.     Open source research determined that “TRIPWITHSCIENCE” has operated on

several Darknet markets since approximately 2011, such as: Empire Market (4,719

transactions), Agora (1,500 transactions), Apollon Market (47 transactions), Berlusconi

Market (60 transactions), Cryptonia Market (199 transactions), Dream Market (6,400

transactions), Tochka Market (542 transactions), Hansa Market (567 transactions), Silk Road

2.0 (2,199 transactions) and Dark Market (823 transactions) . The research also indicates

that “TRIPWITHSCIENCE” may have operated on Nightmare Market, Andromeda Market,

AlphaBay, Silk Road, Wall Street Market, Pandora, Black Market Reloaded, and numerous

other small Darknet markets, but the number of transactions associated with those markets is

unknown.

   11.     “TRIPWITHSCIENCE” operates primarily on Monopoly, Televend and

Cannahome Darknet marketplaces selling liquid psychedelic mushrooms in 9.0

milligram/gram vials for $19.95 each. “TRIPWITHSCIENCE” specifically states how to

consume the controlled substance on his marketplace listings, verifying the controlled

substance analogue is for human consumption.

   12.     From December 23, 2019 through November 20, 2020, HSI Columbus, with the

assistance from DEA and USPIS, conducted twelve controlled liquid mushroom buys from

“TRIPWITHSCIENCE” via Empire and Cannahome Markets. HSI Columbus purchased a

total of approximately 545 grams of liquid psychedelic mushrooms during the twelve buys.



                                           11
   Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 13 of 29 PAGEID #: 13




HSI received and seized a U.S. Mail parcel associated with each buy containing

suspected liquid psychedelic mushrooms. The Ohio Bureau of Criminal Investigation

(BCI) Forensic Laboratory tested the contents of each parcel and determined them to be

4-Acetoxy-N,N-Dimethyltryptamine (4-AcO-DMT). This controlled substance is an

analogue of 4-Hydroxy-N,N-Dimethyltryptamine (liquid psychedelic mushrooms), a

schedule I controlled substance. The seized mail parcels that were shipped though U.S.

Mails by “TRIPWITHSCIENCE” were shipped from U.S. Post Office blue collection

boxes in the area surrounding Gulf Breeze, Florida and Memphis, Tennessee. The mail

parcels consisted of United States Postal Service Priority Mail flat envelopes with Joshua

Tree and Big Bend Priority Mail Stamps attached for postage. Investigators know that

these types of stamps are often purchased by drug dealers using cash to remain

anonymous when shipping mail parcels.

   13. In October of 2020, HSI Columbus, with assistance from DEA and USPIS

identified the target in Gulf Breeze, Florida mailing out the “TRIPWITHSCIENCE”

parcels and executed a federal search warrant on his residence. HSI seized approximately

$155,000 in cryptocurrency and cash, three firearms and approximately 22,356 grams of

4-Acetoxy-N, N-Dimethyltryptamine (4-AcO-DMT).

       14.     During a custodial interview with investigators, the Gulf Breeze Target stated that

   he was not “TRIPWITHSCIENCE” but was recruited by “TRIPWITHSCIENCE” as a

   reshipper to repackage and ship the vials of liquid mushrooms to “TRIPWITHSCIENCE”

   customers. The Gulf Breeze reshipper stated he was paid between $4,000 and $6,000 in

   cryptocurrency every two weeks for his services. He stated “TRIPWITHSCIENCE” had 1-3

   “Order Men” working for him in Utah who would send out approximately 4-quarts of liquid



                                               12
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 14 of 29 PAGEID #: 14




mushrooms (4-AcO-DMT) in containers concealed with a label for “Genesis Nutronics, The

Natural Detox” to reshippers. The “Order Men” would also assign out the orders to

reshippers and send out the names, quantity, and address for where to send the vials. The

Gulf Breeze reshipper stated that he believed there were multiple reshippers working for

“TRIPWITHSCIENCE” and stated when he was recruited by “TRIPWITHSCIENCE,”

“TRIPWITHSCIENCE” recommend he use a certain vender on Alibaba.com to buy his

10ML vials from to keep it all uniform.

   15.       U.S. Postal records showed the Gulf Breeze reshipper received USPS Priority

Mail parcels, of approximately the same weight, that were shipped from various post offices

in Salt Lake City, Sandy and Draper, Utah.

   16.       A U.S. Customs and Border Protection (CBP) database query revealed a subject

named Tony RN is using a UPS Store Box at 3750 Hacks Cross Road Suite 102 Unit 203 in

Memphis, Tennessee to receive similar 10ML vials as the Gulf Breeze reshipper, in bulk

quantities, on a monthly basis. A phone number listed on one of the shipments was used to

identify Tony RN as Tony PHAN who resides at 4144 Meadow Cliff Drive in Memphis,

Tennessee.

   17.       U.S. Postal records show PHAN is receiving at least 2 USPS Priority Mail parcels

from the Salt Lake City, Utah area every month to his 4144 Meadow Cliff Drive address. The

parcels are the same weight as the ones that were being sent to the Gulf Breeze reshipper.

   18.       On October 27, 2020, HSI Memphis while conducting surveillance on PHAN,

witnessed PHAN get it a Lexus GX470 bearing Tennessee license plate 757LNK and drive to

a U.S. Post Offices. While wearing gloves, PHAN dropped approximately 8 packages into

two different blue mail drop boxes at the location. HSI Memphis detained one of the



                                             13
   Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 15 of 29 PAGEID #: 15




   packages and USPIS Inspectors obtained a search warrant to open it. On October 29, 2020,

   USPIS Inspectors with the assistance of HSI Memphis executed the search warrant on the

   package and discovered thirteen 10ML vials of brown liquid. CBP Forensics Laboratory in

   Savannah, Georgia tested the contents of the vials and determined the liquid to be 5-hydroxy-

   N,N-Dimethyltryptamine, a DEA Schedule I controlled substance.

       19.    A subpoena issued to Coinbase, Inc. revealed throughout the life of the account,

   PHAN bought 10.4565797 BTC (value of $7,085.03) and received 99.87374353 BTC into

   the account. Records showed PHAN sold 130.236194 BTC (value of $84,195.69) from the

   account. Additionally, PHAN bought 4.11892993 Ethereum (ETH) (value of $628.80),

   received 856.8253728 ETH, and sold 653.6557839 ETH (valued at $152,568.23). Records

   showed PHAN received a total of seven (7) one-hop transactions from the SILKROAD2.0

   and AGORA darknet markets. Records further showed PHAN’s account regularly received

   varying amounts of crypto-currency, ranging from approximately $3,000 to $9,000, from

   March 5, 2017 to February 5, 2021. These received transactions occurred, on average, two

   times each month which aligns with the payment schedule from “TRIPWITHSCIENCE” to

   the Gulf Breeze reshipper.

       20.    On October 22, 2020, HSI Columbus received data from a seized Darknet

   Marketplace that contained 34 Bitcoin withdrawal wallet addresses for

   “TRIPWITHSCIENCE’s” vender account. Using cryptocurrency analysis tracing, a Coinbase

   wallet was discovered sending and receiving Bitcoin from “TRIPWITHSCIENCE’s”

   withdrawal wallets.

   21. A subpoena was served to Coinbase for the subscriber information and account

history associated with the Coinbase customer conducting the bitcoin



                                              14
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 16 of 29 PAGEID #: 16




transactions. Coinbase subpoena returns revealed the user account, created on January 22,

2013, belonged to James BARLOW. The subpoena further listed BARLOW’s account

was a merchant account using the company name Royal Bowmen.

   22.     Coinbase showed BARLOW had sold approximately 312.99 Bitcoins through the

exchange valued at $717,461.27 but only purchased 1 Bitcoin valued at $188.94. Similarly,

BARLOW had sold both 81.11 Ethereums valued at $52,576.26 and 492.13 Litecoins valued

at $30,828.25 but did not make any purchases for those cryptocurrencies on the exchange.

   23.     The Coinbase subpoena results showed BARLOW had vanity wallet address

1Bar1ow5zwy47N5ZkRLhvaWvVYFKT8xg8q on the account. Through cryptocurrency

analysis tracing it was determined that 1Bar1ow5zwy47N5ZkRLhvaWvVYFKT8xg8q

shares private keys with vanity address

1TWS1XtNX9pwjWJSxnRarqiZhYWRHoUWs. 1TWS1XtNX9pwjWJSxnRarqiZhYWRHo

UWs is believed to be a possible second vanity wallet for “TRIPWITHSCIENCE”, also

known as TWS. A 2015 Reddit post showed “TRIPWITHSCIENCE” used the vanity wallet

1Trip1V2s5cbDeFjCLeJQEvRgT7T7Jy3k.

   24.     While conducted crypto-currency analysis on the bitcoin wallet addresses listed in

the Coinbase subpoena for BARLOW, investigators discovered five (5) direct transactions,

from November 20, 2013 to September 2, 2014, between BARLOW and

“TRIPWITHSCIENCE’s” darknet withdraw wallets. Investigators commonly observe

darknet vendors withdraw their drug proceeds directly into their personal accounts when they

first begin selling on the darknet.

   25.     According to the BARLOW’s Coinbase subpoena results, on July 15, July 18,

August 15, and September 6 of 2016, BARLOW used his Coinbase account, via



                                           15
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 17 of 29 PAGEID #: 17




Shiftpayments, to make six purchases from Thomas Scientific Inc. A clear web search of

Thomas Scientific Inc revealed a website THOMASSCI.COM which sells numerous

laboratory supplies, chemicals, instruments, and equipment.

   26.     On December 14, 2016, BARLOW used his Coinbase account, via Shiftpayments,

to make a purchase at “Sticker Mule.” A clear web search of Sticker Mule revealed a website

STICKERMULE.COM which sells custom labels and stickers. It is believed that BARLOW

could have used Sticker Mule to make the Genesis Nutronics labels used by the “Order

Men.”

   27.     On April 24, 2017, BARLOW used his Coinbase account, via Shiftpayments, to

make a purchase from FCD*Freund Container. A clear web investigative search revealed

Freund Container is now Berlin Packaging which sells food, beverage, and pharmaceutical

containers. Several containers found on the website match the container sent by the “Order

Men” in Utah to the Gulf Breeze reshipper that was found during the search warrant.

   28.     A U.S. Customs and Border Protection database query of international parcel

seizures revealed three possible seizures associated with BARLOW. One of those seizures

was 113 grams of 4-Acetoxy-N, N-Dimethyltryptamine (4-AcO-DMT) addressed to Jim

BARLOW. The other two were 105 grams of 3,4-Methylenedioxymethamphetamine

(MDMA) addressed to a James BARLOW and 1,416 grams of Gamma Hydroxy Butyrate

(GHB) addressed to a “Adam Businger” at James BARLOW’s residence, 1409 Bonita

Avenue February 7, 2019.

   29.     A public record check showed the company Nutra HQ was registered to the P.O.

BOX 29502 #61122 in Las Vegas, Nevada and listed the managing member of the company

to be James Barlow at 1409 Bonita Ave in Las Vegas, Nevada.



                                           16
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 18 of 29 PAGEID #: 18




   30.     A CBP database query of international shipments showed Nutra HQ had three

international shipments. Two shipments were sent to a virtual office space in Las Vegas,

Nevada containing a grinding machine (October 20, 2017) and 2500 10ML plastic bottles

(June 30, 2020). A third shipment to Nutra HQ was to the same virtual office space company

but to a location in Salt Lake City, Utah. This shipment was also for 2500 plastic bottles

(June 30, 2020) and was sent from the same shipper who sent 10ML bottles to the Gulf

Breeze reshipper to prepare and distribute liquid mushrooms (4-AcO-DMT) for

“TRIPWITHSCIENCE.”

   31.     On November 11, 2017. USPIS discovered a USPS account with the username

NutraHQ registered to a James BARLOW. This online USPS account revealed that from

October 19, 2018 to June 24, 2020, approximately five (5) orders of Priority Flat Rate

Envelopes and about twenty-six (26) orders for at least $300 each of Priority Flat Rate

stamps (Big Bend Stamps) were made. Law enforcement knows that these Priority Flat Rate

stamps are most commonly used among Darknet vendors, and are the stamps found to be

used by all known “TRIPWITHSCIENCE” reshippers to date.

   32.     Further crypto-currency tracing conducted on wallet addresses belonging to

“TRIPWITHSCIENCE” that were received from seized darknet marketplace data showed

that on June 15, 2017, a second Coinbase account received bitcoin from

“TRIPWITHSCIENCE.” Results from a subpoena served to Coinbase revealed this account

belonged to Monet Latrice CARRIERE. The account showed CARRIERE received

334.47112423 BTC, sent 6.29361 BTC, and sold 327.5485325 BTC (valued at $304,392.12)

during the life of the account. Additionally, CARRIERE transacted smaller amounts of

BitcoinCash, Bitcoin Satoshi Version, Ethereum, and LiteCoin through the account.



                                            17
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 19 of 29 PAGEID #: 19




   33.     The Coinbase subpoena on CARRIERE’s account also revealed that from October

30, 2018 to April 10, 2019, CARRIERE had notable transactions from CAPSULE

CONNECTION, LLC, FREUND CONTAINER A DIV BE, SPICE JUNGLE, LLC, and 22

purchases from USPS.COM POSTAL STORE. Total purchases from the USPS.COM

POSTAL STORE equaled $21,184.96.

   34.     A CBP database query of international packages revealed CARRIERE had

received 11 shipments of plastic bottles, between 2014 through 2017, matching the

description of the bottles PHAM and the Gulf Breeze reshipper were receiving to package

“TRIPWITHSCIENCE’s” orders.

   35.     A subpoena served to Capsule Connection, LLC revealed CARRIERE was

associated with six (6) orders of bulk “Gelatin Capsules”. These capsules were purchased

from February 12, 2019 to November 17, 2020 and encompassed 279,000 gelatin capsules.

The size and shape of these capsules match capsules sold by darknet vendor

PERFECTSHROOMS.

   36.     Freund Container, now a division of Berlin Packaging LLC, was issued a

subpoena for the account history associated with James BARLOW, Monet CARRIERE and

NUTRA HQ. Berlin Packaging LLC subpoena return revealed 11 orders from March 24,

2018 through November 18, 2020. The first two orders were shipped to James BARLOW at

1409 Bonita Avenue in Las Vegas, Nevada. The next 7 orders were shipped to Monet

CARRIERE at her residence in Las Vegas, Nevada and the last two orders, on June 16, 2020

and November 18, 2020 were shipped to Nutra HQ/Monet Carriere at 4001 S 700 E, Suite

500 in Salt Lake City, Utah. The last 5 orders consisted of Item number 3211B15 that

matched the bottles found at the residence of the Gulf Breeze reshipper, on October 20, 2020



                                           18
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 20 of 29 PAGEID #: 20




with a “GENESIS NUTRONICS” label. Per Gulf Breeze reshipper, these bottles were

supplied to him from “TRIPWITHSCIENCE” and were suspected to contain liquid

psilocybin mushrooms. Per Berlin Packaging’s website, these bottles are described as “84 oz

Natural HDPE Plastic Kautex Wide Mouth UN-Rated Leakproof Bottles (Blue Tamper-

Evident Cap) - 3211B15” and are similar in shape, color, and size to the bottles

“TRIPWITHSCIENCE” mailed to his reshippers

   37.     Postal records show the Gulf Breeze reshipper and Tony PHAN, both received an

average of 2-4 parcels containing 4-8 bottles suspected of containing approximately 84

ounces of concentrated liquid psilocybin mushrooms monthly from “TRIPWITHSCIENCE.”

This coincides with the 268 bottles BARLOW and CARRIERE ordered and the amount the

Gulf Breeze reshipper and PHAN received which is estimated to be 252 bottles (average of 6

bottles a month for 21 months totaled for both reshippers).

   38.     On November 30, 2020 Spice Jungle LLC was issued a subpoena for the account

history associated with Monet CARRIERE, James BARLOW, NUTRAHQ and any

customers using the shipping address of 4001 South 700 East, Suite 500, Salt Lake City,

Utah 84017. On December 7, 2020, Spice Jungle LLC subpoena returns revealed numerous

orders, totaling $8,429,51, associated with CARRIERE, James BARLOW, Matt BARLOW,

Jenni CAMPBELL and NUTRAHQ between the July 2, 2017 and November 5, 2020.

   39.     Since October 21, 2020, USPIS Inspectors have been able to obtain

approximately eight (8) U.S. Post Office surveillance videos of the Salt Lake City, Utah

targets sending parcels to PHAN and the Gulf Breeze reshipper. The surveillance videos

consisted of three (3) videos of a female and five (5) videos of a male dropping off USPS

Priority Mail parcels at the service counter and paying cash. A clear web search of associates



                                            19
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 21 of 29 PAGEID #: 21




of James BARLOW, identified the targets as Matthew BARLOW, James BARLOW’s

younger brother and Jennifer CAMPBELL, Matthew BARLOW’s roommate and suspected

girlfriend.

    40.       A public record check of address 4001 South 700 East, Suite 500, Salt Lake City,

Utah revealed the address came back to Avanti Workspace, a virtual office company. Avanti

Workspace subpoena returns showed the virtual office of NUTRAHQ/BARLOW had four

parcels awaiting pickup from Spice Jungle LLC, Capsule Connection LLC, and Berlin

Packaging LLC. On December 7, 2020 Avanti Workspace stated that on December 4, 2020,

the packages had been picked up by a male with “rainbow colored hair” and a female near of

the close of day. On December 8, 2020 investigators provided an employee of Avanti

Workspace with a photograph of Matthew BARLOW and Jennifer CAMPBELL. The

employee confirmed that it was Matthew BARLOW and CAMPBELL who picked up the

packages for NUTRAHQ on December 4, 2020.

    41.       A subpoena issued to Coinbase, Inc. revealed Matthew BARLOW created an

account on February 21, 2018. Jennifer CAMPBELL was also listed as being associated

with the account. Throughout the life of the account, Matthew BARLOW and

CAMPBELL’s account received 22.72432712 BTC, bought 0 BTC, sent 0.54636692 BTC,

and sold 22.05309677 BTC (valued at $168,692.62). Analysis of the account determined

Matthew BARLOW and CAMPBELL would regularly receive various amounts of Bitcoin

into the account and then withdraw these funds in U.S. Currency to his bank account.

Investigators conducted blockchain analysis on the incoming transactions and determined

many of the funds were received from Wasabi Mixing Service, a service used to conceal

origins of a transaction. In an image Matthew BARLOW provided to Coinbase to verify his



                                              20
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 22 of 29 PAGEID #: 22




identity, Matthew BARLOW can be seen standing in the picture holding a temporary driving

permit. In the background of this image, multiple USPS Priority Mail shipping boxes appear

to be stacked on a cabinet. These boxes match the boxes of suspected drugs being sent from

the Salt Lake City, Utah area to PHAN and the Gulf Breeze reshipper.

   42.     On or about January 19, 2021, HSI SAs at the Salt Lake City, Utah office initiated

surveillance of Matthew BARLOW at his residence of 6431 S 725 E Street in Murray, Utah.

At approximately 17:30 hours, HSI SAs witnessed Matthew BARLOW leave his house and

drive to a U.S. Post Office in Sandy, Utah. HSI SAs witnessed Matthew BARLOW give the

Postal employee behind the counter three USPS International Priority Mail parcels and pay

for the shipment using cash. Matthew BARLOW collected his receipt and then returned back

to his residence.

   43.      A Postal database query conducted by USPIS determined the three parcels,

CH123337788US, CH123338050US and CH123338240US, sent by Matthew BARLOW

were addressed to Daniel BARWELL at 14 Vulcan Cresecent, Scawsby, Doncaster, DN5

8WA, United Kingdom. All three parcels contained a fictitious return address of Nathan

Coleson, 10075 S Kimsbrough Road, Sandy, Utah. Each parcel had $77.35 of postage

affixed, were manifested as a “cleanse”, and valued at $35. The weight of each package was

approximately the same weight of packages sent to PHAN and the Gulf Breeze reshipper.

   44.     While reviewing seized Darknet Marketplace data from “TRIPWITHSCIENCE,”

HSI SAs discovered messages between “TRIPWITHSCIENCE and Darknet moniker

“DARKLOIS.” The messages identified “DARKLOIS” as a shill account created by

“TRIPWITHSCIENCE” to promote his business and create test shipments on his account.

SAs discovered a similar conversation between “DARKLOIS” and Darknet vendor



                                           21
      Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 23 of 29 PAGEID #: 23




      “PERFECTSHROOMS,” the only other account “DARKLOIS” reviewed and interacted

      with.

          45.      PerfectShrooms currently has listings Televend, Monopoly and Cannahome

      marketplaces. The account has listings for 3.5 grams to 114 grams of “Organic Mushrooms”

      (Psilocybe Cubensis Shrooms) in capsule form. A February 14, 2020, Established Vender

      Application 7 states PerfectShrooms has processed 7,800 orders on 15 different darknet

      marketplaces.

          46.      On November 30, 2020 HSI Columbus, with the assistance of DEA and USPIS

      conducted a controlled buy for 7 grams of powdered psilocybin mushroom capsules from

      “PERFECTSHROOMS” via Monopoly Market. Due to shipping delays,

      “PERFECTSHROOMS” sent a second parcel of 7 grams of powered psilocybin mushroom

      capsules. Both parcels were seized, tested at Ohio BCI Forensics Laboratory, and determined

      to be 4-Acetoxy-N,N-Dimethyltryptamine (4-AcO-DMT). The first parcel contained a return

      address in Midvale, Utah and the second contained a returned address in Memphis,

      Tennessee.

          47.      On or about January 4, 2021, HSI Columbus received electronic results from a

      search warrant issued to Google for records associated with Jim.V.Barlow@Gmail.com. In

      the records, images showed containers and bags of mushrooms with the cartoon scientist icon

      of “TRIPWITHSCIENCE” and the script “u/TripWithScience” written underneath. The

      multiple images appeared to show a step-by-step alcohol extraction of psilocybin mushrooms


7
    Established Vendor Applications are used by vendors applying to new marketplace places. Vendors will

          list the markets they have sold on and how many transactions they’ve completed in an attempt to

          get discounted or waived vendor fees.


                                                    22
      Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 24 of 29 PAGEID #: 24




      next to the “TRIPWITHSCIENCE” icon and the script “u/TripWithScience”. Metadata 8 in

      the images showed they were taken at 1345 Hawaiian Hills Ave., Las Vegas, Nevada 89183

      on November 16, 2020. Images were found of mushrooms growing on substrate. In the

      images, the words “PerfectShrooms” with cartoon mushrooms were printed on a piece of

      paper next to the growing mushrooms. The metadata of both images showed they were taken

      on November 15, 2020 near 1345 Hawaiian Hills Avenue., Las Vegas, Nevada 89183.

          48.      A clear web search of 1345 Hawaiian Hills Avenue shows the residence is

      occupied by Ronald Royal Edwards BRUST. BRUST co-owns the business Illuminated

      Couture and Good-To-Glow with James BARLOW.

          49.       A video found in the results of the search warrant served to Google, shows an

      individual believed to be Ronald BRUST. In the video the male narrated how he dried horse

      manure and then showed how to sift the manure to use it for “mushroom cultivation”. The

      individual, believed to be BRUST, stated the manure was “sun dried in Las Vegas weather”

      and stated, “It’s quite a bit of a process and that is what goes into making magic

      mushrooms”. The metadata of the video showed it was taken September 23,

      2020. Distinctive tattoos on the arm and foot of the individual in the video match tattoos

      observed on photographs showing the arm of BRUST in a Facebook post on November 17,

      2018. In a separate image an individual holding a large bag of gelatin capsules filled with a



8
    Image metadata is text information pertaining to an image file that is embedded into the file or contained

           in separate file that is associate with it. Image metadata includes details relevant to the image itself

           as well as information about its production. Automatically generated metadata can include the

           camera brand and model, the date and time when the image was created and the GPS location

           where it was created.


                                                         23
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 25 of 29 PAGEID #: 25




light brown powder can be seen. A tattoo on the foot of the individual holding the bag of

capsules match the tattoo on the foot of the individual in video “8aa6fb92-ffc7-4257-8d0b-

02e7f72b9493.mp4”, both believed to be BRUST’s left foot. The capsules are congruent with

the capsules sold by “PERFECTSHROOMS.”

   50.     A subpoena issued to Coinbase, Inc. revealed BRUST possessed a personal and a

business account. During the life of the personal account, BRUST bought 0.02280327 BTC

(valued at $190), received 5.4995289 BTC, and sold 5.45251994 BTC (valued at

$63,117.73). Investigative analysis was conducted on the wallet addresses of BRUST’s

personal account. Analysis showed one three-hop transaction between a bitcoin mixer and

BRUST. During the life of the business account, BRUST bought 0 BTC, received

26.39784414 BTC, and sold 27.02296321 BTC (valued at $37,810.89). Investigative

analysis was conducted on the wallet addresses of BRUST’s business account. Analysis

showed BRUST received two (2) four-hop transactions from the WALL ST and HYDRA

darknet markets respectively on January 19, 2019. Further, BRUST received 1.38475291

BTC (valued at $5,118.10) on January 19, 2019 from a wallet which also sent funds to a

second co-conspirator.

   51.     While analyzing James BARLOWS Google Drive search warrant results

investigators found several photos and videos depicting James BARLOWS illicit drug use,

the photos include drugs believed to be DMT, Ketamine, LSD, MDMA and Psychedelic

Mushrooms. Investigators also found a spreadsheet named TCS Accounting that tabs listing

from 2014-2021, each tab appeared to show an income and expense table that included

multiple transactions with descriptions with reference to Darknet Marketplaces, drugs,

known “TRIPWITHSCIENCE reshipper code names, reimbursement for materials used by



                                           24
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 26 of 29 PAGEID #: 26




the reshippers (vials, Everclear, refrigerators and stamps), bitcoin mixing services and TWS

Charity, which appears to be a direct reference to “TRIPWITHSCIENCE’s” donation wallet.

The spreadsheet shows an average yearly income of $211,019.52 in 2014 and raising to a

yearly income of $2,814,606.25 by 2021. The spreadsheet showed James BARLOWS value

as $4,378,974.48 in 2020.

   52.     In the Google Drive search warrants results was a spreadsheet titled “2015 TCS

Accounting.” In the spreadsheet were 9 tabs, 7 of the tabs were titled 2015 and known two

letter abbreviations for darknet markets AlphaBay, Nucleus Market, Abraxas Market,

MiddleEarth Marketplace, Evolution Market, Agora Market and Black Bank Market. Each

tab listed multiple transactions that included a date, time, a notation that payment was

received and blockchain transaction hash. HSI Columbus ran several of the bitcoin

blockchain transaction hashes and results came back corresponding Darknet marketplace

reference in the tab title. A tab titled “2015 Received” appeared to list all 704 Darknet

transactions from January 1, 2015 through December 9, 2015 indicting a net of $401,816.78.

   53.     In the Google Drive search warrant results was a spreadsheet titled “archived

rbow btc addresses” showed 500 bitcoin wallet addresses, several the addresses has

descriptions next the address that included: “from tws,” “pay 9-15 from tws,” “from trip,”

”from tws through bitmixer,” “from lois evo,” “from AG loisdark,” “August SR” and

“Evolution July.”

   54.     On James BARLOW’s Google Drive was a folder titled “DNM,” which is known

to law enforcement as an abbreviation for Darknet Market. The folder 7 files including a

spreadsheet named “4AC Sources” that listed several websites believed to sale 4-AcO DMT.

The spreadsheet included the price, price per gram and whether or not they accepted bitcoin.



                                             25
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 27 of 29 PAGEID #: 27




Another spreadsheet found in the “DMN” folder was titled “Fulfiller Recurring Expenses”

which listed cost for stamps, gloves, bubble wrap, vials, vacuum bags, printer paper, mailing

labels and misc. A third spreadsheet titled “TWS Sales Summation” included 7 tabs. On the

first tab titled “Sheet 1” is a list of Silk Road, Agora and Evolution Darknet markets orders,

order per day, number of vials, vials per day and vials ordered for the month of July. The

sheet goes on to break down the cost per gallon to mix 2.8 liters of Everclear, 11.5 grams of

4-AcO DMT and juice. On the tab titled “AG July” shows a ledger of sales from Agora

Market that include quantity of Liquid Mushrooms order, events, status of order and the

feedback left by the customer. A word document titled “MVI_1537_Packaging” is a 6-page

word documents that describe in great detail the advised process of packaging and shipping

the vials. A fourth spreadsheet titled “Mo Timesheet” listed hours Mo, a nickname used for

Monet CARRIERE worked from September 2, 2014 to September 30, 2014. The spreadsheet

listed CARRIERE’s “salary” as $2000 and listed two “commissions”, one for $1,730 and one

for $1,890. The spreadsheet further listed “Stamp/Supply” reimbursements for $1,845 and

$2,212.50. Investigators also found a screenshot of a text message from CARRIERE in

another folder on the Google Drive, the text message was from CARRIERE asking James

BARLOW if they could do the “vial” count tonight so she could close the spreadsheet.

   55.     Due to the evidence provided above, it is believed that James BARLOW is the

head of the “TRIPWITHSCIENCE’ and “PERFECTSHROOMS” Drug Trafficking

Organization (DTO). It is believed that Monet CARRIERE began as a reshipper for

“TRIPWITHSCIENCE” and now handles the ordering of precursors needed for mixing the

liquid and powdered mushrooms sold by the DTO. Investigators believe Matthew BARLOW

and Jennifer CAMPBELL mix the liquid mushrooms in quart bottles that they ship to Tony



                                            26
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 28 of 29 PAGEID #: 28




PHAN in Memphis, Tennessee, and Daniel BARWELL in the United Kingdom. Tony

PHAN then repackages the quarts bottles of liquid mushrooms into vials and ships them to

“TRIPWITHSCIENCE” customers inside the United States. Daniel BARWELL does the

same thing as PHAN for all “TRIPWITHSCIENCE” customers outside the United States.

Ronald BRUST is believed by investigators to be growing psilocybin mushrooms for the

DTO. Investigators also believe BRUST assist with packaging of capsules

“PERFECTSHROOMS” and marketing for the darknet listings.

   56.     This summation does not include all duties of the DTO members and is only

meant to serve as a general outline. It is the belief of investigators that the duties of the DTO

members change with the needs of the organization.


                                        CONCLUSION

   57.     Based on the foregoing facts, I believe that there is probable cause that James

BARLOW, Monet CARRIERE, Ronald BRUST, Matthew BARLOW, Jennifer CAMPBELL

and Tony PHAN are attempting and conspiring to manufacturing, distributing or dispensing a

controlled substance, in violation of 21 U.S.C. § 841 and 21 U.S.C. §846. Accordingly, I

request the issuance of a criminal complaint and arrest warrant for James BARLOW, Monet

CARRIERE, Ronald BRUST, Matthew BARLOW, Jennifer CAMPBELL, and Tony PHAN.

   58.     I further request that due to the ongoing nature of this investigation, the

application, search warrant, and this affidavit be sealed until further ordered of the Court in

order to avoid premature disclosure of the fact of this investigation and the information

contained in this affidavit.




                                             27
Case: 2:21-mj-00270-KAJ Doc #: 1 Filed: 04/20/21 Page: 29 of 29 PAGEID #: 29




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